                   UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF WISCONSIN
________________________________________________________________
TODD MICHAEL REARDON
10717 N. Gazebo Hills Parkway East,
City of Mequon, WI 53092                            Case No.18cv1722

-and-
JOHN ROBERT REARDON,
10717 N. Gazebo Hills Parkway East,
City of Mequon, WI 53092
               Plaintiffs
vs
MATTHEW SCHOSSOW
In His Official Capacity As Police Officer and
Individually;
c/o City of Meqon Police Department
11300 N. Buntrock Ave.
Mequon, WI 53092
KRISTIN L. SUDINSKI-TORYFTER
In Her Official Capacity As Police Officer and
Individually;
c/o City of Meqon Police Department
11300 N. Buntrock Ave.
Mequon, WI 53092
CITY OF MEQUON
A Municipal Entity
c/o City Clerk – service of process
11333 N. Cedarburg Rd.,
Mequon, WI 53092
JOHN(S) and/or JANE(S) DOE
Presently Unidentified Persons or Entities
                 Defendants


                                COMPLAINT




    NOW COME THE PLAINTIFFS -AND EACH OF THEM- BY UNDERSIGNED
COUNSEL, as and for their respective Complaints against the




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Defendants, and each of them, allege as follows upon information
and belief:


I. NATURE OF ACTION

    101. Plaintiffs bring this action for damages caused by the
violation of their civil (constitutional) rights per 42 U.S.C.
§1983, against the Defendants, and each of them;         as
Plaintiffs were subjected to certain conduct by Defendants under
color of state law, which deprived Plaintiffs
of rights, privileges, and/or immunities guaranteed them
under Federal Law &/or the U.S. Constitution.


    102. Specifically, Plaintiffs allege that Defendants
fraudulently procured a search warrant, and executed thereupon,
which resulted in unconstitutional searches and seizures of
their personal, family residence; all of which caused Plaintiffs

damage as alleged herein.



    103. Plaintiffs specifically allege the police conduct
violated Plaintiffs’ rights under (the Fourth, Fifth, and/or
Fourteenth Amendments to the United States Constitution and)
Federal Civil Rights Statutes.


    104. The individual Defendants, as more particularly
alleged herein, include a supervisory-level officer.




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    105. Presently unidentified defendants identified as
Jane(s) and/or John(s) Doe(s) are adult residents of the State
of Wisconsin; and/or are legal entities; who are proper and/or
necessary parties hereto;       and may include insurance companies,

non-law-enforcement personnel, and/or City of Mequon Police
Department officers, employees, or other such persons or
entities.


    106.          The City of Mequon is named as a direct-liability
Defendant, and as an indemnification Defendant.


II. JURISDICTION AND VENUE

    A.      JURISDICTION:

    201. This court has jurisdiction over this action pursuant
to 28 U.S.C §1343(a)(3) and        28 USC 1343(3) and 28 USC 1331--
i.e.,   42 U.S.C.§1983 jurisdiction.

    B.      VENUE:

    202. The United States Federal Court for the Eastern

District of Wisconsin is the proper venue for this action,
because Plaintiffs’ claims arose within the geographical
boundaries thereof, within the meaning of 28 U.S.C.§1391(b).


III. PARTIES

    A.      PLAINTIFFS:

    301. Plaintiff Todd Michael Reardon is an adult resident of
the State of Wisconsin, who on the dates and times referenced
herein, was the leaseholder occupant and patriarch of the single

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family home (and land) located at 10717 N. Gazebo Hills Parkway
East, City of Mequon, Ozaukee County, Wisconsin (hereinafter,
the “Plaintiffs’ Residence”; wherein the aforementioned
unconstitutional deprivations occurred; which is within the

jurisdictional territory of this Eastern District of Wisconsin
Federal Court); and who is the father of co-Plaintiff John
Robert Reardon.


    302. Plaintiff John Robert Reardon is an adult resident of
the State of Wisconsin, who -on the date and time of the police-
actions alleged herein, resided at Plaintiffs’ Residence and who
was arrested and (municipally) prosecuted as a result of the
Defendant’s actions and inactions, alleged herein (and who is
the son of co-Plaintiff Todd Robert Reardon, referenced above.)

    B.      DEFENDANTS:

    303. Defendant MATTHEW SCHOSSOW, is an adult resident of

the State of Wisconsin and is named as a party-defendant, In His
Official Capacity As Police Officer and Individually;

and who at all times mentioned herein, was employed by and/or
was an agent or apparent agent of, the City of Mequon Police
Department (and/or a “sergeant” thereof), acting within his
scope of employment and under the color of law; and has the
capacity to sue and be sued; and that based upon the allegations
herein he is a necessary and proper party hereto.




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    304. KRISTIN L. SUDINSKI-TORYFTER is an adult resident of
the State of Wisconsin and is named as a party-defendant, In Her
Official Capacity As Police Officer and Individually;
and who at all times mentioned herein, was employed by and/or

was an agent or apparent agent of, the City of Mequon Police
Department, acting within her scope of employment and under the
color of law; and has the capacity to sue and be sued; and that
based upon the allegations herein she is a necessary and proper
party hereto.


    305. Defendant CITY OF MEQUON is an incorporated
municipality entity existing within the State of Wisconsin and
is a unit of local government, whose agent and address for
service of process is c/o City Clerk, 11333 N. Cedarburg Rd.,
Mequon, WI   53092;   which has the capacity to sue and be sued in
this Court; and is directly liable to Plaintiffs –and each of

them- for the damages caused by its unconstitutional policies,
practices, and/or customs alleged herein below; and is otherwise

obligated to defend this action against the Defendants and to
satisfy any judgment entered against any or all of them, by
virtue of §895.46, Stats.; and that based upon the allegations
herein it is a necessary and proper party hereto.


    306. Defendants JANE(S) and/or JOHN DOE(S) are presently
unidentified adult residents or other legal entities of
(including insurance companies doing business within) the State
of Wisconsin and having the capacity to sue and be sued; whose


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addresses are likewise presently unidentified; including those
who, at all times mentioned herein, were acting under the direct
control and supervision of the City of Mequon and/or its Police
Department and within the scope of his or her employment, and

under the color of law; and that -based upon the allegations
herein-     he, she, it, and/or they are a necessary and proper
party/parties hereto.



IV.   ALLEGATIONS OF FACT AS TO ALL CAUSES OF ACTION

      401. This lawsuit concerns the actions and inactions of
various members of the City of Mequon Police Department
(“CMPD”), including Defendants SCHOSSOW and TORYFTER, during the
evening hours of October 31, 2015; which continued into the
morning hours of November 1, 2015.


      402. This lawsuit also concerns Municipal Liability of

Defendant City of Mequon (“City”), for the practices, policies,
and/or customs identified herein, relating to its citywide,

City-Council-Approved “anti-underage-drinking” campaign complete
with marketing efforts, prescribed procedures, forms, and
protocols; a “social host” ordinance;          and a City-established
“Tip411” line, whereby the City sponsored a “telephone hotline”
and mobile phone “apps” for persons to contact the CMPD and
anonymously report alleged “underage drinking parties” (amongst
others, presumably.)




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    403. As a part of Defendant City’s policy, practice, or
custom in this regard, Defendant City developed and instituted a
streamlined “search warrant application process” for street-
ready use by its police department; which was used to violate

the Plaintiffs’ rights and interests, as alleged herein.


    404. On October 31, 2015, at approximately 10:19pm, the
City of Mequon Police Department (CMPD) received an anonymous
“Tip411” phone call which alleged that an “underage drinking
party” was occurring at Plaintiffs’ residence; and that said
“tip” was indeed, purely anonymous under Wisconsin Law, and
lacked any indicia of reliability herein.


    405. In response to the “Tip411” call herein, the Mequon
Police Department dispatched four squad cars including a “shift
supervisor” (Defendant SCHOSSOW) to the Plaintiffs’ residence.



    406. The “Tip411” call was actually a “hoax” call by a

fellow teen, spurned by not having been ‘invited’ to this
particular gathering at Plaintiffs’ Residence; and that this
particular ‘gathering’     was specifically organized by
Plaintiffs, for the benefit of certain student-athletes from a
local WIAA high school football team, as being specifically
alcohol-free because the student-athletes were extremely
concerned about violating WIAA rules by simply being present at
any “underage drinking party.”




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    407. Specifically, eight teenagers were originally present
at the Plaintiffs’ Residence on the night in issue, and that
these teens who were originally present, were playing video
games and not drinking alcohol at any time; and that these

original attendees tested 0% breath-alcohol when administered
law enforcement preliminary breath tests (“PBTs”) later that
night and/or early the next morning – including Plaintiff Todd
Robert Reardon who was, at the time, “underage.”


    408. At some point after the original attendees gathered,
three teenage girls and a boy arrived at the Plaintiffs’
Residence, who apparently had been drinking alcohol elsewhere,
earlier in the evening (and who were the individuals who later
tested positive during law enforcement-administered PBTs – and
presumably, were the underage persons seen “scattering” and/or
locking doors, as referenced below.)



    409. When the Mequon Police Officers arrived at Plaintiffs’

Residence, they observed and reported that “four” cars were in
the driveway and one was parked on the street.


    410. Plaintiff Todd Robert Reardon is in the automobile
dealership business, and the four cars in the driveway were
registered to him, his dealership, and/or to his sons (two of
which autos had “692” dealer plates); which to any reasonable
officer would make the reported “four cars in the driveway”




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unremarkable and a non-starter in terms of an “underage drinking
party.”


    411. CMPD Officers proceeded to “secure the perimeter” upon

arrival, and allegedly attempted contact at the front door (and
by mobile phone);       and were unsuccessful as nobody answered the
door or the mobile phone calls.


    412. CMPD officers report that they could see through a
“half moon” window above the front door, to a “landing”
upstairs, where several persons (under the age of 21) were
observed ‘scattering’ and ‘peeking out” windows; and the
Officers report hearing doors and windows “clicking” (i.e.,
allegedly being locked.)


    413. Defendant SCHOSSOW physically invaded the backyard of

Plaintiffs’ Residence and took position immediately outside one
of the Plaintiffs’ Residence’s back-yard windows - purportedly

to “secure the perimeter”;        and in that position, he observed
the blinds (on the subject window) were drawn-closed except for
the bottom inch or so which remained ‘open’ - where an adult
would have to bend over in order to peek through that crack, to
observe the interior of the Plaintiffs’ Residence; and that
SCHOSSOW did indeed peek through the one inch ‘crack’ at the
bottom of the window, to observe into the interior of
Plaintiffs’ Residence; and that such observation caused or
contributed to the subject Search Warrant to be issued.


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          414. Defendant TORYFTER also responded to that location
immediately outside that rear-window; and likewise (reportedly)
peeked-into the Plaintiffs’ Residence through the crack in the
blinds.



          415. Defendants SCHOSSSOW and/or TORYFTER reported that
they were able to observe alcohol containers, through the back
window blinds, to wit:                       they reported seeing one “PBR can” on an
end-table; and an “open bottle of vodka” on the floor near an
end-table (amongst other non-alcoholic beverage containers);
however no actual ‘drinking’ of any beverage was observed.


          416. Defendant TORYFTER thereafter applied for a “Search
Warrant” pursuant to the aforementioned practices, policies
and/or customs of the City of Mequon, in this regard; and
completed an “Affidavit In Support of Search Warrant Section

968.23, Wisconsin Statutes1” (a true and correct copy of which is
Attached hereto, incorporated by reference herein.)



          417. Said Affidavit speaks for itself, but for the purposes
of this pleading, is in check-the-box format, and was designed
and implement to be readily available and quickly completed by
law enforcement personnel “outside the office” (e.g., in a
police squad car, in order to expedite the legal presentation to
a neutral magistrate, to request issuance of a Search Warrant.)


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    Section 968.23, Stats., contains an illustrative “Form” Affidavit, for applying for a search warrant



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    418. Defendant City’s “anti-underage drinking” campaign
also included protocols (i.e., practices, policies, or customs)
including contacting an “on-call” district attorney -and/or
application-approval of the request for Search Warrant by a

police captain; it is believed these protocols were “skipped” by
Defendants herein.


    419. Defendant TORYFTER -pursuant to said practices,
policies, and/or customs- checked the boxes and filled the
blanks and affirmatively represented that she was investigating
a criminal violation, in order to request a Search Warrant; and
then rousted Ozaukee County Circuit Court Judge Sandy Williams
after midnight (at approximately 1:00am) on November 1, 2015);
and requested that Judge Williams execute and issue the check-
the-box-form Search Warrant prepared by TORYFTER;         and that
based upon TORYFTER’s application and requests, Judge Williams

issued the Search Warrant for Plaintiffs’ Residence (a true and
correct copy is attached hereto and incorporated by reference

herein.)


    420. After Judge Williams issued the Search Warrant,
Defendant TORYFTER advised officers on scene by telephone that
the warrant was issued and they were commissioned to enter the
Plaintiffs’ Residence; and thereafter CMPD police officers
entered the Plaintiffs’ Residence, allegedly via an unlocked
door, at approximately 1:15am, and after knocking and
announcing.


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    421. However the door whereby CMPD entered the Plaintiffs’
Residence, was “closed and blocked off” because the door’s
hinges were broken; thus a large table was placed across the
interior entrance of the door – such that the officers first

“jimmied” the door lock, and then pushed through the broken door
and the large table blocking it, in order to enter the house.


    422.   After entering the Plaintiff’s Residence pursuant to
the Search Warrant, Plaintiff John Robert Reardon was detained,
searched, and arrested for a municipal ordinance violation for a
“Social Host” infraction (ordinance 46-157);


    423. That said Ordinance 46-157 was void and unenforceable
because it exceeded the authority granted by Ch. 125 Stats, when
it improperly expanded the statutory definition of “premises” to
include Plaintiffs’ Residence, changed “adult” to “person”, and

where it created a penalty far in excess of that permitted by
statute.



    424. All told, some seventeen police officers in nine squad
cars responded to the Plaintiffs’ Residence (i.e., virtually
“all available” patrol officers for the Mequon and Thiensville
police departments that night / early morning.)


    425. TORYFTER and/or SCHASSOW and/or other CMPD officers -
after having stood outside said rear-window, intentionally or in
reckless disregard of Plaintiffs’ rights, tracked mud onto white


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carpeting in the Plaintiffs’ Residence, causing otherwise-
avoidable physical damage to the property.


    426. Almost three hours had passed between the time the
Defendants arrived on-scene and their entry under the subject
Search Warrant - whereas the status quo remained unchanged:
the circumstances were under control, nobody came or left,
nobody was determined to have been (underage) drinking there;
nobody was fighting, vomiting, nor disturbing the peace.


    427. Exigent circumstances did not exist at any time under
the circumstances, as evidenced by the police actions and
inactions as alleged herein.


    428. Under the circumstances presented and known to the
Defendants the night in question,      the two referenced
(potential) “Chapter 125” violations under investigation were

noncriminal, civil forfeiture offenses for which no imprisonment
is possible – as there was no evidence that any under age person
at the Plaintiffs’ residence had a prior conviction (in which

case the violation could possibly be criminal).


    429. The only way that either violation under Chapter 125
could be a “crime”, would be if an underage person had a prior
conviction therefor; and that Defendants TORYFTER and/or
SCHOSSOW had no reasonable factual basis to believe that any
underage person inside of Plaintiffs’ Residence, had previously
been convicted of either referenced “Chapter 125” violations;



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and thus, TORYFTER did not allege any such “prior” convictions
which would turn this otherwise civil-violation into a criminal
offense; and knew that this was a municipal-level, civil
ordinance violation only and not a criminal investigation (but

did not tell the Judge that).


V.   VIOLATIONS OF LAW
     [Plaintiffs re-allege and incorporate by reference the
foregoing allegations, as though fully set forth herein].
     501. The clearly-established constitutional rights of
Plaintiffs’ were violated by the Defendants’ actions and
inactions (and each of them) as alleged herein.


     502. Defendants’ actions and inactions occurred “under the
color of law” (including Defendant City’s custom, policy and/or
practice);   and proximately caused financial loss and other
compensable damage to Plaintiffs, and each of them;



     503. Defendants lacked probable cause to arrest Plaintiff

JOHN ROBERT REARDON for any valid offense; and Defendants lacked
probable cause to believe that any underage persons were
“furnished” alcohol by another within Plaintiffs’ Residence,
contrary to Wisconsin Statute.


     504. Defendant TORYFTER applied for the Search Warrant
under Chapter 125 of the Wisconsin Statutes, knowing that she
was not investigating any crime, under Wisconsin Law, because
simple “underage drinking” -by itself- by itself “is not a

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crime” (although it may subject the underage person to arrest);
and “underage drinking” by itself, would not justify a
warrantless entry into a home - because “underage persons” are
permitted to drink with their parents under Wisconsin Statute;

and therefore, the subject Search Warrant was obtained by fraud.


      505. Defendants forged ahead with the Search Warrant they
obtained -intentionally, in reckless disregard and deliberate
indifference to the law and Plaintiffs’ rights and interests;
and/or were personally involved with -and personally supervised-
the entry, detentions, and physical searches of the Plaintiffs’
Residence and the persons inside it.


VI.   4th /   5th / 14th Amendment
      601. The methodology and the manner of:        the application
for the Search Warrant, the issuance of Search Warrant, and the

execution thereupon was unconstitutional, and caused each
Plaintiff,    damages under the law and facts.



      602. Based upon the allegations contained herein the
Defendants, and each of them, violated the clearly established
constitutional rights of the Plaintiffs under the 4th, 5th and 14th
Amendments to the U.S. Constitution as it relates to the
foregoing deprivations and damages caused by Defendants under
color of law.




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VII. WARRANTLESS SEARCH      - “CURTILAGE”
     701. By sneaking into the Plaintiffs’ backyard, and by
standing immediately outside the subject rear-window, and by
peeking-into the Plaintiffs’ Residence through the closed blinds

in order to see into it (i.e., search), the Defendants, and each
of them, conducted a warrantless search of the Plaintiffs’
Residence in violation of Plaintiffs’ clearly established
constitutional rights under the 4th , 5th, & 14th Amendments to the
U.S. Constitution, and Federal Law.




VIII.   SEARCH BY WARRANT     - FRAUDULENTLY OBTAINED
     801. The Search Warrant issued herein, was invalid and
fraudulent ab initio; and obtained in violation of Plaintiffs’
clearly established constitutional rights, to wit:



     802. Defendant TORYFTER’s application for the subject
Search Warrant contained materially false statements of fact -

and/or omitted material facts- which intentionally made (and/or
made recklessly, indifferent to Plaintiffs’ rights); which
included Defendant’s (mis)representation -under oath- that
“there are now located and concealed” in the Plaintiffs’
Residence, “evidence of the crime” of “underage alcohol
possession” and/or “Furnishing alcoholic beverages to underage
persons” – in violation of “Chapter 125, Stats.”




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    803. Defendant TORYFTER intentionally or recklessly failed
to provide material facts and information that -had it been
provided- would have negated the Judge’s probable cause
determination,   to wit:    (1) there was no direct evidence that

underage persons were drinking (or being furnished) alcohol in
the Plaintiffs’ Residence (and indeed, nobody was reported
drinking any beverage whatsoever - all that the police observed,
was “underage persons” and “alcohol containers” in Plaintiffs’
Residence);   and (2) Defendant TORYFTER omitted the material
fact that the subject “tip” was purely anonymous and not
reliable or verified.


    804. Defendant TORYFTER’s false statements (including
omissions) were made knowingly and intentionally, or with
reckless disregard for the truth, and that the statements
(including omissions) were necessary to the finding of probable

cause such that -after excising the false allegation (and/or
considering the omissions)- probable cause would have failed and

the Search Warrant not issued.


    805. Any reasonable law enforcement officer would have
known the foregoing, and would not have sworn under oath that
evidence of a crime under Chapter 125 of the Wisconsin Statutes,
was in the Plaintiffs’ Residence;      and/or would not have
proceeded upon the Search Warrant to violate Plaintiffs
constitutional rights in the manner that Defendants did.




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    806. Defendant TORYFTER nonetheless authored and executed
the Affidavit In Support of Search Warrant and         she submitted
and prosecuted the application for Search Warrant to the Judge;
and after (being misled about the underlying circumstances) the

Judge approved and issued the Search Warrant; then Defendant
TORYFTER caused the CMPD to execute upon it; and she (and
others) entered the Plaintiffs’ Residence to search, seize, and
arrest based upon a fraudulently obtained Search Warrant.


    807. Any reasonable officer in the position of Defendants,
would have known that the subject application for the Search
Warrant was false and fraudulent, and that no criminal
violations were occurring (nor apparent) such that no probable
cause existed for the issuance of a Search Warrant;         and that
the Search Warrant was obviously deficient on its face,
objectively unreasonable, and unconstitutional, to wit:          the

application for the search warrant contained glaring
deficiencies in terms of reliable indicia of probable cause

concerning particular evidence of a crime which would probably
be found at Plaintiffs’ residences;       rendering any purported
official belief in the legality of the search warrant itself,
objectively unreasonable, under the totality of the
circumstances.


    808. No reasonable officer would have believed he was
entitled under the law and/or the Search Warrant, to enter
Plaintiffs’ (private) residence for the purposes of


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investigating a municipal violation, and especially “Underage
drinking” as Chapter 125 allows for “underage drinking” in the
home, as alleged above and as provided by law.



      809. Under the circumstances the subject Search Warrant was
unconstitutionally applied for, issued, and/or executed upon;
and reliance upon the Search Warrants was objectively and
unconstitutionally unreasonable; and any reasonable officer
would have known same; and all of which caused Plaintiffs the
damages alleged herein.


      810. Defendants deliberately and recklessly rushed to
conclusions and took actions that were patently unfair and which
violated Plaintiffs’ clearly established constitutional rights
including those under the 4th, 5th, and/or 14th Amendments to the
U.S. Constitution and Federal Law.



IX.   Failure to Intervene

      901. Defendant SCHOSSOW had actual knowledge of          -and/or
deliberate indifference to- the fact that Defendant TORYFTER was
fraudulently applying for a warrant to search Plaintiffs’
Residence, based upon a non-criminal activity.


      902. SCHOSSOW was obligated to intervene and prevent
TORYFTER from engaging in such a clear violation of Plaintiff’s’
constitutional rights; and he was in a position to do so; and he
failed to do so.


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     903. Said failure to intervene occurred under circumstances
where (1) an objectively reasonable        officer would have
understood that fellow officers’ conduct violated Plaintiffs’
clearly established constitutional rights, (2) said Defendant

had a realistic opportunity to intervene and/or to protect such
harm from occurring (3) Defendant failed to take reasonable
steps to prevent said harm from occurring, which failure to act
caused Plaintiffs to suffer harm (4) Defendant purposely
ignored, condoned, acquiesced, and/or assisted the entry,
search, detentions & seizure (5)all under color of law.


X.   Supervisor Liability
     1001.      As alleged herein, Defendant SCHOSSOW was the
supervisor of CMPD law enforcement officers including Defendant
TORYFTER, during the application for, and execution of, the
subject Search Warrant; that SCHOSSOW was in a position to

properly supervise TORYFTER in this regard; yet          SCHOSSOW failed
to properly supervise the application for (and the execution of)

the Search Warrant.


     1002.    Defendant SCHOSSERT set in motion a series of
events that he knew or reasonably should have known, would cause
fellow officers to deprive the Plaintiffs of clearly established
constitutional rights.


     1003.      All of which caused Plaintiffs, and each of them,
to suffer the damages they now complain of.


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XI. Municipal Liability (42 USC 14141) & Indemnification – Wis.
Stats. §895.46
       1101.       Plaintiffs’ damages have been caused or
contributed to, by Defendant City’s policy, practice or customs,

as alleged herein.


       1102.     The circumstances further reflect that the
Defendant City of Mequon has failed to properly train
Defendants, and each of them, as to proper search warrant
protocols, obligations, and/or limitations – and/or failed to
adequately supervise and discipline its officers, agents, and/or
apparent agents in that regard;        and that such failure caused or
contributed to the Plaintiffs’ damages;         therefore such failure
to train also renders the City of Mequon directly liable to
Plaintiffs under this Complaint.



       1103.     Defendant City of Mequon is otherwise liable to
defend this action against the Defendants, and to satisfy any

judgment entered against them, by virtue of Wis. Stat.§895.46.


XII.       CAUSATION, DAMAGES      and EQUITY
       1201.     By virtue of unlawful actions/inactions alleged
above, Defendants (and each of them) have caused Plaintiffs’
damages and are now liable to the Plaintiffs –and each of them-
for the financial losses and other compensable damages they have
caused, which shall be determined by the fact finder in an
amount deemed as reasonable compensation.

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XIII.      PUNITIVE DAMAGES.
      1301.      The Defendants, and each of them, intentionally,
maliciously, and/or recklessly disregarded the law, public

trust, limitations of the Search Warrant process, their official
duties, and/or the Plaintiffs’ constitutional rights; and
Defendants intentionally caused unjustified and unreasonable
damage and destruction to the Plaintiffs’ physical property
(carpeting, and door); all of which violated the Plaintiffs’
clearly established, constitutional rights.


      1302.      All of which entitles Plaintiffs (and each of
them) to an award of punitive damages as provided by law,
against Defendants, and each of them, to punish the offenders
and to deter them and others similarly situated, from similar
wrongful acts in the future.



XIV. CONDITIONS PRECEDENT

      1401.      All conditions precedent to this action, within
the meaning of Rule 9(c), Fed. R. Civ. Pro., have been performed
or have otherwise occurred.


XV.   DEMAND FOR JURY TRIAL
      1501.      The Plaintiff hereby demands a trial by jury of
all issues triable of right to a jury.




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XVI. STAUTORY ATTORNEYS FEES
      1601.      Plaintiffs are entitled to an award by federal
law, for the costs of prosecuting this Complaint including all
reasonable attorneys fees and costs associated therewith

(experts, investigators, paralegals, and the like).


XVII.       PRAYER FOR RELIEF
      WHEREFORE, Plaintiffs request money judgment in their
favor, and each of them, and against the Defendants, and each of
them, for a reasonable amount of damages including:
      1701.   Monetary damages in an amount that will fairly
compensate Plaintiffs for their damages.


      1702.   Punitive damages in amount that will justly punish
the individual Defendants for their actions and deter others,
provide by law;



      1703. The Plaintiffs’ statutory costs, and a statutory

award to Plaintiff for the reasonable attorneys’ fees and
associated litigation expenses (including expert witness fees),
and


      1704.   Any other additional relief –in law or equity- to
which the Plaintiffs are entitled to under this or subsequent
pleading.




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Date:    October 30, 2018
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